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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION


Cynthia Brown, et al.,                                       Case No. 2:24-cv-1401
               Plaintiffs,                                   Judge Graham
       v.                                                    Magistrate Judge Deavers
David Yost, Ohio Attorney General,
               Defendant.

                                        Opinion and Order

       Citizens of Ohio have the power to amend the state constitution.          Proponents of an
amendment must follow a process that culminates in their proposal being placed on the ballot at a
general election, with voters deciding the amendment’s fate. One early step requires proponents to
prepare a summary of the amendment. The summary, if certified by the Ohio Attorney General as
“fair and truthful,” appears on petitions circulated to the public as supporters attempt to gather
enough signatures to place the amendment on the ballot. O.R.C. § 3519.01(A).
       Plaintiffs are proponents of two amendments, and they have brought suit against Ohio
Attorney General David Yost. This case presents the question whether plaintiffs’ rights under the
First Amendment to the United States Constitution are violated by the requirement that their
summaries be examined and certified by the Attorney General as fair and truthful statements. The
matter is before the Court on plaintiffs’ motion for preliminary injunctive relief enjoining
enforcement of the fair-and-truthful review requirement as to their summaries. For the reasons
stated below, the Court grants the motion.

I.     The Initiative Process
       Ohio has reserved to the people the right to amend the Ohio Constitution by initiative. See
Ohio Const. art. II, § 1a. Citizens who would exercise this right must form a committee of three to
five individuals to represent them “in all matters relating to such petitions” for amendment. O.R.C.
§ 3519.02.
       To advance a proposed constitutional amendment, the committee must submit a written
initiative petition with the Attorney General for review. O.R.C. § 3519.01(A). The petition must be
signed by 1,000 qualified electors and include the full text and a summary of the amendment. Id.

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The Attorney General conducts “an examination of the summary” within ten days of receipt. Id. If
he finds that “the summary is a fair and truthful statement” of the amendment, he “shall so certify”
and forward the petition to the Ohio Ballot Board. Id. If the Attorney General rejects the summary,
the committee may seek review in the Ohio Supreme Court. O.R.C. § 3519.01(C).
        The Ballot Board must, within ten days of receipt of a certified petition, examine it to
“determine whether it contains only one proposed law or constitutional amendment so as to enable
the voters to vote on a proposal separately.” O.R.C. § 3505.062(A). If the petition passes muster as
having a single subject, the Ballot Board certifies its approval to the Attorney General, who then
files with the Secretary of State a verified copy of the proposed amendment, “together with its
summary and the attorney general’s certification of it.” Id.; accord O.R.C. § 3519.01(A).
        After clearing these steps, the committee may begin collecting signatures. Proponents must
submit “the signatures of ten per centum of the electors.” Ohio Const. art. II, § 1a. According to
the Secretary of State’s office, “proponents seeking to qualify a citizen-initiated constitutional
amendment for the November 2025 ballot must submit at least 413,487 valid signatures.” Doc. 59-
1, Burnett Decl., ¶ 5.
        Petitions circulated to the public must contain a heading that states:
              INITIATIVE PETITION
              Amendment to the Constitution
              Proposed by Initiative Petition
              To be submitted directly to the electors
O.R.C. § 3519.05(A); accord Ohio Const. art. II, § 1a. The summary of the proposed amendment
must be included in the petition. O.R.C. § 3519.05(A). The summary, it has been said, “arguably
helps potential signers understand the content of the law more efficiently than if they had to rely
solely on a review of the entire law.” Schaller v. Rogers, No. 08AP–591, 2008-Ohio-4464, ¶ 46, 2008
WL 4078446, at *10 (Ohio Ct. App. Sept. 4, 2008). Certified summaries are also made available to
the public on the Secretary of State’s website. O.R.C. § 3519.07(A)(2).
        Initiative petitions circulated to the public must contain several more items, including the
Attorney General’s certification of the summary, names and addresses of the committee members, a
place for signatures, and the full text of the proposed amendment. O.R.C. § 3519.05(A). Petitions
are also to include a notice above the signature lines warning that certain fraudulent conduct, such as
signing a name other than one’s own, is subject to prosecution. Id. And petitions must contain a
declaration to be completed by the circulator before submission to the Secretary of State. Id.

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        Signatures must be received by the Secretary of State at least 125 days before the general
election at which the amendment is to appear on the ballet. Ohio Const. art. II, § 1a. The Secretary
of State oversees the verification of the signatures. See, e.g., O.R.C. §§ 3519.10, 3519.14, 3519.15,
3519.16. If the signatures are approved, the Ballot Board prescribes and certifies the ballot language
for the proposed amendment no later than 75 days before the election. Ohio Const. art. II, § 1g;
O.R.C. § 3505.062(D).      Arguments or explanations both for and against the amendment are
prepared and published to the public. Ohio Const. art. II, § 1g; O.R.C. § 3519.03. The proposed
amendment is then placed on the ballot at the next general election. Ohio Const. art. II, §§ 1a, 1g;
O.R.C. § 3519.16.

II.     Procedural Background
        A.      Original Proceedings and Appeal
        Plaintiffs Cynthia Brown, Carlos Buford, and Jenny Sue Rowe are members of a committee
who wished to place a citizen-initiated constitutional amendment on the ballot for the November 5,
2024 general election. Their proposed amendment, entitled Protecting Ohioans’ Constitutional
Rights, would create a private cause of action for money damages against state government actors
who have deprived a person’s rights under the state constitution. The defense of qualified immunity
would not be available to government actors. See Doc. 47 at PAGEID 528–29.
        Backers of the amendment have tried many times to obtain the Attorney General’s
certification of a summary of the proposed amendment. 1 One effort occurred on March 5, 2024,
when plaintiffs submitted a petition to the Attorney General with their summary, proposed
constitutional amendment, and 1,000 supporting signatures. The Attorney General issued a decision
on March 14 declining to certify plaintiffs’ summary as fair and truthful. See Doc. 58-7 at PAGEID
660–62. The Attorney General found, among other deficiencies, that the summary contained
misleading statements about the scope of the proposed amendment and confusing language about a
statute of limitations.



1 The Attorney General rejected a total of eight petitions prior to the filing of this suit. One petition
sought to amend the Ohio Revised Code, rather than the Ohio Constitution. See Doc. 58-2.
Another petition failed because it lacked enough valid signatures. See Sept. 1, 2021 Attorney
General Letter, available at https://www.ohioattorneygeneral.gov/getattachment/9baf2841-6816-
4099-b75c-0b0b599df80e/Civil-Action-for-Deprivation-of-Constitutional-Rights-Amendment-(Re-
Submission).aspx. Putting aside those two attempts, the Attorney General rejected six summaries as
failing the fair-and-truthful standard. See Docs. 58-1, 58-3, 58-4, 58-5, 58-6, 58-7.
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        Plaintiffs believed that the reasons given by the Attorney General were flawed and
contradicted an earlier decision, issued November 17, 2023, in which he declined to certify a prior
summary. See Doc. 58-6 at PAGEID 648–53. Plaintiffs exercised their right to direct judicial review
in the Ohio Supreme Court by filing a complaint for writ of mandamus on March 20, 2024. The
complaint alleged that the Attorney General’s March 14, 2024 decision was arbitrary, capricious, and
an abuse of discretion. Plaintiffs requested a writ directing the Attorney General to certify plaintiffs’
summary and forward their petition to the Ballot Board. They also moved for expedited judicial
review, which the Ohio Supreme Court denied on March 26. See State ex rel. Brown v. Yost, 173 Ohio
St. 3d 1436, 229 N.E.3d 1216 (Ohio 2024) (unpublished table decision).
        On March 27, plaintiffs filed suit in this Court and moved for preliminary injunctive relief.
They argued that they had a First Amendment right to timely and de novo judicial review and
resolution of the Attorney General’s adverse certification decision. Having been denied expedited
review by the Ohio Supreme Court, plaintiffs sought an injunction from this Court requiring the
Attorney General to certify their summary as fair and truthful.
        On April 25, the Court denied plaintiffs’ motion for a preliminary injunction. See Doc. 21.
The Court found that plaintiffs had not established standing because they could not trace the alleged
harm – the Ohio Supreme Court’s refusal to provide expedited review – to the defendant, the
Attorney General. The Court also found that plaintiffs were unlikely to succeed on the merits of
their facial and as-applied First Amendment claims, in part because the denial of expedited judicial
review did not severely burden plaintiffs’ First Amendment interests.
        Plaintiffs appealed and a panel of the Sixth Circuit reversed. See Brown v. Yost, 103 F.4th 420
(6th Cir.), vacated en banc, 122 F.4th 597 (6th Cir. 2024) (per curiam). The panel found that plaintiffs
had established standing and had also demonstrated a likelihood of success on the merits. The panel
enjoined the Attorney General from enforcing O.R.C. § 3519.01 against plaintiffs and ordered him
to advance their petition to the Ballot Board.
        The Attorney General petitioned for rehearing en banc. The full Sixth Circuit granted the
petition, vacated the panel opinion, and scheduled the rehearing for October 30, 2024. See Brown v.
Yost, 104 F.4th 621 (6th Cir. 2024).
        B.      Developments at the Ohio Supreme Court
        Plaintiffs applied for voluntary dismissal of the action they had filed in the Ohio Supreme
Court, which granted their application to dismiss on May 22, 2024. See State ex rel. Brown v. Yost, 174
Ohio St. 3d 1422, 234 N.E.3d 472 (Ohio 2024) (unpublished table decision).

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        Plaintiffs submitted another petition and summary to the Attorney General on July 5, 2024.
The Attorney General rejected the summary on July 15 because it did not have a title. See Doc. 47 at
PAGEID 545–47. On July 19, plaintiffs again filed for a writ of mandamus in the Ohio Supreme
Court. Plaintiffs sought and were denied expedited judicial review. See State ex rel. Brown v. Yost, 175
Ohio St. 3d 1413, 239 N.E.3d 408 (Ohio 2024) (unpublished table decision).
        Meanwhile, a decision in a separate case impacted plaintiffs’ situation. The Ohio Supreme
Court ruled that the Attorney General’s certification authority under § 3519.01(A) does not extend
to the title of the summary. See State ex rel. Dudley v. Yost, 177 Ohio St. 3d 50, 250 N.E.3d 50 (Ohio
2024) (per curiam).
        The Dudley decision caused plaintiffs and defendant to file a joint motion for the issuance a
limited writ of mandamus requiring the Attorney General to examine anew plaintiffs’ July 5
summary. The Ohio Supreme Court granted the writ on November 14, 2024. See State ex rel. Brown
v. Yost, 175 Ohio St. 3d 1535, 245 N.E.3d 798 (Ohio 2024) (unpublished table decision).
        C.      The Sixth Circuit’s En Banc Decision
        The en banc court issued a decision on November 21, 2024 dismissing the appeal as moot
because plaintiffs’ request for preliminary injunctive relief was directed at the November 5, 2024
election, which had just taken place. See Brown v. Yost, 122 F.4th 597 (6th Cir. 2024) (per curiam).
The Sixth Circuit noted, however, that the underlying suit was not moot. Id. at 602 (“[T]he passing
of the November 2024 election does not undercut the live nature of the dispute pending in the
district court.”). The court continued:
        On remand, Brown remains free to seek expedited resolution of the permanent
        injunction request. Nothing prevents either party from seeking expedited review of
        an adverse decision. And nothing prevents either party from seeking expedited en
        banc review. All of this by the way allows the district court to consider several other
        intervening developments: Brown’s subsequent submission of a new summary
        intended for Ohio’s November 2025 election, the Attorney General’s rejection of it,
        a recent decision by the Ohio Supreme Court that undermines one of the Attorney
        General’s prior rejections, State ex rel. Dudley v. Yost, ––– Ohio St.3d ––––, –––
        N.E.3d ––––, 2024 WL 4610503 (Ohio 2024) (per curiam), a recent order by the
        Ohio Supreme Court requiring a response by the Attorney General, and the
        developing nature of both parties’ theories with respect to the nature of the free-
        speech rights at issue. Because these issues all are “primarily if not entirely legal,”
        the federal courts stand ready to resolve them quickly. [Ohio v. EPA, 969 F.3d 306,
        309 (6th Cir. 2020)].

Id. at 603.



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        D.      External Developments after the En Banc Decision
        On November 25, 2024, the Attorney General certified plaintiffs’ July 5 summary as a fair
and truthful statement of the proposed amendment. See Doc. 58-8 at PAGEID 670–71. The
petition then advanced to the Ballot Board, which certified on December 4, 2024 that the proposed
amendment satisfied Ohio’s single-subject requirement. See Doc. 59-1 at PAGEID 768. Thus,
plaintiffs are currently permitted to gather signatures and attempt to place their amendment on the
November 4, 2025 ballot. Signatures are due by July 2, 2025. See Burnett Decl., ¶ 5.
        On January 8, 2025, Governor Mike DeWine signed a bill into law which responds to the
Ohio Supreme Court’s decision in Dudley. See Substitute H.B. No. 74, 135th Gen. Assemb. (Ohio
2025). The new law gives the Attorney General authority to examine both the summary and the title
of a proposed constitutional amendment in determining whether they are fair and truthful
statements. The new law goes into effect on April 9, 2025. For proponents, like the plaintiffs,
whose petition lacked a title but whose summary received the Attorney General’s certification prior
to April 9, the new law provides that their initiative petition will not be invalidated on the ground
that a title was not certified by the Attorney General. See O.R.C. § 3519.01(D) (eff. Apr. 9, 2025).
        E.      Proceedings on Remand
        Following the issuance of the Sixth Circuit’s mandate, the parties jointly moved for an
extension until February 6, 2025 to file their report under Rule 26(f), Fed. R. Civ. P. The magistrate
judge granted the motion. Plaintiffs then moved for leave to file an amended complaint, which
defendant did not oppose.       The magistrate judge granted leave, and the verified Amended
Complaint was filed on January 30.
        The Amended Complaint asserts facial and as-applied First Amendment claims. Plaintiffs
have adjusted their First Amendment theory, with the focus shifting away from the lack of expedited
state court review of the Attorney General’s adverse certification decisions to § 3519.01’s fair-and-
truthful provision itself. Plaintiffs assert that the grant of authority to the Attorney General to
review and reject the content of their summaries violates the First Amendment. They allege that it
unlawfully empowers the Attorney General to censor their political speech and restrict their access
to the initiative process.
        The factual underpinnings of the claims have also been reshaped. Plaintiffs recognize that
the Attorney General and Ballot Board have certified and advanced their July 2024 petition. But
plaintiffs allege that the Attorney General’s rejections of their previous summaries caused them to
make unwanted changes. The changes included omitting the title, deleting a reference to the title in

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the body of the summary, moving the phrase “or any subset thereof,” and rewording the description
of the statute of limitations. Compare Doc. 47 at PAGEID 528–29 (March 5, 2024 summary) with id.
at PAGEID 538–39 (July 5, 2024 summary). Plaintiffs seek relief in the form of an order requiring
the Attorney General to certify the March 5, 2024 summary.
        In addition, plaintiffs plan to support another proposed constitutional amendment, entitled
the Ohio Wrongful Conviction and Justice Reform Amendment. They are now gathering the initial
1,000 signatures needed for submitting a petition to the Attorney General. See Doc. 59-2, Brown
Dep. at 103. Plaintiffs seek a pre-enforcement injunction prohibiting the Attorney General from
exercising fair-and-truthful review of plaintiffs’ summary and title. 2
        Plaintiffs have again moved for a preliminary injunction. They argue that § 3519.01’s fair-
and-truthful provision severely burdens their First Amendment rights and should be subject to strict
scrutiny. They further argue that § 3519.01 does not survive strict scrutiny because it is not narrowly
tailored to serve a compelling state interest.
        Defendant conducted limited discovery. Defendant took the depositions of plaintiff Cynthia
Brown and Kyle Pierce, the executive director of the Coalition to End Qualified Immunity. They
testified about the petitioning efforts, plans, and resources of the proponents of the amendments. 3
Brown testified that plaintiffs are not currently gathering signatures in support of the certified July
2024 petition. Brown Dep. at 61–62. Nor have they retained a consultant to manage circulation
efforts. Id. at 58. Defendant has also submitted the declaration of Brandon Lynaugh, a public policy
and political consultant with Strategic Public Partners. Though defendant does not formally offer
him as an expert, Lynaugh says he was engaged to “opine” on plaintiffs’ ability to place a proposed
amendment on the November 2025 ballot.             Doc. 59-4, Lynaugh Decl., ¶ 1.     In light of the
deposition testimony and available information about the proponents’ resources, Lynaugh believes
“there is no realistic possibility” they can collect enough signatures to place an amendment on the
November 2025 ballot. Id., ¶¶ 12–13 (citing plaintiffs’ lack of time, resources, and manpower).
        Plaintiffs dispute defendant’s characterization as speculation.     Brown testified that the
committee has interviewed potential consultants, has a plan for collecting signatures, and is “able


2  Defendant has taken a preliminary position that plaintiffs’ summary fails the fair-and-truthful
standard. See Doc. 59 at PAGEID 699–700.
3 Discovery primarily concerned the readiness of the committee backing the Protecting Ohioans’
Constitutional Rights amendment, and not of the committee backing the Ohio Wrongful Conviction
and Justice Reform Amendment.
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and ready to go.” Brown Dep. at 53, 58–59. Pierce testified that the committee has a budget plan
and is collecting money. Doc. 59-3, Pierce Dep. at 29–31.
        Despite these factual disputes, the relevant issues on remand are legal ones, as the Sixth
Circuit anticipated. Plaintiffs’ second motion for preliminary injunction is now fully briefed and ripe
for adjudication.

III.    Standard of Review
        Preliminary injunctions are available under Rule 65(a) of the Federal Rules of Civil
Procedure. Plaintiffs bear the burden of justifying preliminary injunctive relief. McNeilly v. Land, 684
F.3d 611, 615 (6th Cir. 2012). A court balances four factors in considering a motion for preliminary
injunction: “(1) whether the movant has a strong likelihood of success on the merits; (2) whether
the movant would suffer irreparable injury absent the injunction; (3) whether the injunction would
cause substantial harm to others; and (4) whether the public interest would be served by the issuance
of an injunction.” Bays v. City of Fairborn, 668 F.3d 814, 818–19 (6th Cir. 2012).

IV.     Likelihood of Success on the Merits
        A.      The Anderson-Burdick Framework
        The United States Constitution does not require states to create an initiative procedure.
Taxpayers United for Assessment Cuts v. Austin, 994 F.2d 291, 295 (6th Cir. 1993). But when they do so,
states “cannot place restrictions on its use that violate the federal Constitution.” Id. According to
plaintiffs, Ohio has violated the First Amendment by conditioning access to the initiative process on
the Attorney General’s certification of their summaries as fair and truthful statements of the
proposed constitutional amendments. See O.R.C. § 3519.01(A). Courts in the Sixth Circuit examine
First Amendment challenges to state election laws using the Anderson-Burdick framework.              See
Anderson v. Celebrezze, 460 U.S. 780 (1983); Burdick v. Takushi, 504 U.S. 428 (1992); Daunt v. Benson,
956 F.3d 396, 406–07 (6th Cir. 2020) (explaining the Anderson-Burdick test).
        As a threshold matter, however, defendant proposes a departure from Anderson-Burdick. He
argues that the fair-and-truthful review of plaintiffs’ summaries does not even implicate the First
Amendment. Defendant characterizes the requirement as a regulation of the lawmaking process.
That is, plaintiffs’ activity in submitting a summary of their proposed amendment represents an
exercise of the legislative power reserved to the people. See Ohio Const. art. II, § 1a. Section
3519.01 should not be viewed as a restriction on political expression but as a procedural component
akin to laws setting the number of signatures needed or limiting initiatives to a single subject.

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Defendant cites as support Judge Thapar’s concurring opinion in the Brown en banc decision, as well
as authority from outside the Sixth Circuit. See Brown, 122 F.4th at 606 (Thapar, J., concurring)
(“When initiative proponents submit their proposals for certification, they’re like the legislators in
the state house . . . . [W]hen the government regulates the content of initiative petitions and their
summaries, it isn’t regulating private speech based on content—it’s regulating what sorts of laws
citizens can enact.”); Initiative & Referendum Inst. v. Walker, 450 F.3d 1082 (10th Cir. 2006) (en banc);
Marijuana Pol’y Project v. United States, 304 F.3d 82 (D.C. Cir. 2002).
        If defendant is correct that this case does not implicate the First Amendment, then a court
higher than this one must say so. 4 The Sixth Circuit has plainly required courts to apply the
Anderson-Burdick framework to state election regulations such as § 3519.01. Notably, in Thompson v.
DeWine, defendants contended that “Anderson-Burdick shouldn’t apply to ballot initiative
requirements because restrictions on the people’s legislative powers (rather than political speech or
voting) don’t implicate the First Amendment.” 959 F.3d 804, 808 n.2 (6th Cir. 2020) (per curiam).
The court rejected the argument, stating that “until this court sitting en banc takes up the question
of Anderson-Burdick’s reach, we will apply that framework in cases like this.” Id.
        Though bound to follow Anderson-Burdick, the Court would otherwise be inclined to consider
an approach applying a diminished level of scrutiny. See Schmitt v. LaRose, 933 F.3d 628, 643 (6th Cir.
2019) (Bush, J., concurring) (arguing that even if the First Amendment applies to laws structuring
the initiative process, a court should use rational basis review). Plaintiffs’ activity involves more than
ordinary petitioning or even ordinary lawmaking. They seek to amend the Ohio Constitution, the
foundational document governing the state.            Amendments to a constitution are of special
importance and typically must satisfy heightened prerequisites because of the public’s great interest
in the stability of constitutional law. Having reserved for themselves the power to amend the
constitution, the people of Ohio also provided a safeguard for those exercising the power. They
gave the state’s highest court exclusive and original jurisdiction over challenges to certain aspects of
the initiative process. See Ohio Const. art. II, § 1g; O.R.C. § 3519.01(C). Federal courts should tread
lightly before scrutinizing the state’s own rules for amending its governing document.
        The Court now turns to the Anderson-Burdick test. Substantial and sometimes competing
interests are at issue when it comes to election regulations.             Of “fundamental” and “vital”
significance is a citizen’s ability to engage in various forms of political expression, including access to

4In fairness to defendant, he recognized the Court would likely find itself obliged to apply Anderson-
Burdick. See Doc. 59 at PAGEID 696.
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 the ballot. Illinois State Bd. of Elections v. Socialist Workers Party, 440 U.S. 173, 184 (1979). Meanwhile,
 states have a significant interest in regulating “parties, elections, and ballots to reduce election- and
 campaign-related disorder.” Timmons v. Twin Cities Area New Party, 520 U.S. 351, 358 (1997); see also
 Burdick, 504 U.S. at 433 (“Common sense, as well as constitutional law, compels the conclusion that
 government must play an active role in structuring elections; ‘as a practical matter, there must be a
 substantial regulation of elections if they are to be fair and honest and if some sort of order, rather
 than chaos, is to accompany the democratic processes.’”) (quoting Storer v. Brown, 415 U.S. 724, 730
 (1974)). Against this backdrop, the Anderson-Burdick framework provides flexibility for courts to
 consider the relevant interests and determine if a state’s chosen means of pursuing its interests
 unreasonably burdens an individual’s rights under the First and Fourteenth Amendments. See Green
 Party of Tennessee v. Hargett, 767 F.3d 533, 546 (6th Cir. 2014).
         Under Anderson-Burdick, a court begins by weighing “the character and magnitude of the
 burden the State’s rule imposes” on a plaintiff’s First Amendment rights against “the interests the
 State contends justify that burden” and considers “the extent to which the State’s concerns make the
 burden necessary.” Timmons, 520 U.S. at 358 (internal quotation marks omitted). The magnitude of
 the burden determines the level of scrutiny. “Regulations imposing severe burdens on plaintiffs’
 rights must be narrowly tailored and advance a compelling state interest.” Id.; see also Thompson, 959
 F.3d at 808 (severe burdens include “exclusion or virtual exclusion from the ballot”).                  For
 regulations imposing minimally burdensome and “nondiscriminatory restrictions,” courts apply
 rational basis review and “‘the State’s important regulatory interests are generally sufficient to justify’
 the restrictions.” Burdick, 504 U.S. at 434 (quoting Anderson, 460 U.S. at 788). For regulations
 imposing a burden somewhere between these two extremes, courts weighs the intermediate burden
 against “‘the precise interests put forward by the State as justifications for the burden imposed by its
 rule,’ taking into consideration ‘the extent to which those interests make it necessary to burden the
 plaintiff’s rights.’” Burdick, 504 U.S. at 434 (quoting Anderson, 460 U.S. at 789).
         B.      The Burden Imposed on Plaintiffs
         The Court starts with the character and magnitude of the burden imposed on plaintiffs.
 Section 3519.01’s fair-and-truthful review requirement might appear at first glance to be a neutral
 regulation of election mechanics – a step that anyone attempting to amend the constitution must
 complete, irrespective of the person or purpose behind the amendment. But further examination
 raises a red flag. Section 3519.01 expressly directs the Attorney General to review the content of the
 summary written by plaintiffs. Though the certification requirement fits within an overall scheme

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 governing how to place an initiative on the ballot, it authorizes the Attorney General to evaluate the
 substance of plaintiffs’ summary.
         The summary is a statement or expression of the political change for which plaintiffs
 advocate. Section 3519.01 requires them to compose the summary and submit it to the Attorney
 General for review. Upon certification, plaintiffs communicate their summary to the public by
 including it on petitions circulated to potential signers. 5 The summary, even if intended by the
 statute to be objective and fair, unavoidably conveys a political message. It signals that plaintiffs
 want to change the state constitution and describes how they would do it. See Meyer v. Grant, 486
 U.S. 414, 421 (1988) (“The circulation of an initiative petition of necessity involves both the
 expression of a desire for political change and a discussion of the merits of the proposed change.”).
 Section 3519.01 thus regulates plaintiffs’ speech and restricts an aspect of their petitioning activity,
 which itself is “the type of interactive communication concerning political change that is
 appropriately described as ‘core political speech.’” Id. at 421–22 (footnote omitted).
         The regulation is inherently content-based. The Attorney General must assess whether the
 summary is a fair and truthful statement of the proposed amendment. No express standards guide
 or restrain the Attorney General’s consideration of what is fair or truthful. Cf. New England Patriots
 Football Club, Inc. v. Univ. of Colorado, 592 F.2d 1196, 1201 (1st Cir. 1979) (“What is fair is, basically, a
 subjective question.”). The Attorney General’s rejection letters commonly recited that he reviewed
 the summaries to determine if they contained “omissions and misstatements that, as a whole, would
 mislead a potential signer as the actual scope and effect of the proposed amendment.” Doc. 58-3 as
 PAGEID 623. This confirms what would seem clear from the statute: the Attorney General reviews
 the substance of a summary and exercises significant discretion to reject it based on its content.
         It is true that proponents who have had their summaries rejected can seek review in the
 Ohio Supreme Court. See O.R.C. § 3519.01(C). While this may provide due process protection, it
 does not remove the First Amendment burden. Proponents must craft, in the form of a summary, a
 statement of the constitutional change they desire and submit it for content-based review at the
 broad discretion of the Attorney General. If proponents fail and wish to challenge the denial of
 certification, they must pursue additional content-based examination at the broad discretion of
 another state governmental entity, the Ohio Supreme Court. Cf. Schmitt, 933 F.3d at 639 (finding


 5 Proponents must write the summary and later, if certified, communicate it to potential signatories
 regardless of whether they want to do so. It should be noted that plaintiffs do not allege they have
 been compelled to speak against their will.
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 that the Ohio Supreme Court’s review of decisions by county boards of elections is “essentially” de
 novo).
          Section 3519.01 on its face therefore imposes a severe burden on plaintiff’s First
 Amendment interests. It subjects one component of plaintiffs’ speech – the summary they compose
 and circulate to potential signers of their petition – to the state’s editorial review. As even defendant
 acknowledges (albeit discussing a different point), the state “effectively controls the message because
 the Attorney General has final approval authority.” 6 Doc. 59 at PAGEID 696 (internal quotation
 marks omitted). And the Attorney General’s refusal to certify prevents plaintiffs from advancing
 their amendment to the next step of the initiative process.
          As applied, plaintiffs’ experience in having their summaries rejected multiple times
 exemplifies the burden. The Attorney General’s reasons for rejecting the plaintiffs’ attempts ranged
 from technical to substantive. He refused summaries based on them having duplicative language,
 placing a modifying phrase after a comma, not being “concise” enough, not adequately describing
 which courts would have venue of the right of action the amendment would create, not sufficiently
 explaining the amendment’s impact on an award of attorney’s fees to a prevailing plaintiff, and using
 the word “protect” in describing the amendment’s purpose of protecting Ohioans’ rights. See Docs.
 58-1, 58-3, 58-4, 58-5, 58-6, 58-7. The Attorney General’s written decisions establish that he did in
 fact review the content of the summaries and made subjective evaluations of what was fair and
 truthful.
          The Attorney General’s judgment calls over what could be misleading or confusing to
 potential signers led him to reject plaintiffs’ summaries. See Brown, 122 F.4th at 623 (Kethledge, J.,
 dissenting) (“Some eight times now, on grounds increasingly dubious, Ohio’s Attorney General has
 refused to certify any iteration of the plaintiffs’ summaries of their proposed amendment to the
 Ohio Constitution.”). This left plaintiffs unable to begin their petitioning activity. See id. (“The
 result has been that, for about 21 months now, the plaintiffs have not been able to circulate their
 petitions—which is itself core political activity protected by the First Amendment.”). In practical
 effect, each rejection caused plaintiffs to amend the content of their summary. The Attorney
 General’s grounds for disapproval shaped the content of each successive version of the summary.
          Defendant, however, argues that the end product – a summary certified to appear on
 petitions – represents government speech and not the speech of plaintiffs. This matters because

 6 Defendant’s statement is inaccurate in that the Ohio Supreme Court has final authority if a
 committee challenges an Attorney General’s adverse decision.
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 “[t]he Free Speech Clause restricts government regulation of private speech; it does not regulate
 government speech.”       Pleasant Grove City v. Summum, 555 U.S. 460, 467 (2009).            Defendant’s
 argument focuses on the asserted similarity between a ballot and a petition. The state, of course, has
 a substantial interest in maintaining voting-day order and integrity. The state may “speak” on the
 ballot by including instructions on how to vote and a notice of the consequences of voting fraud.
 See, e.g., Kennedy v. Benson, 119 F.4th 464, 472 (6th Cir. 2024) (Thapar, J., dissenting from the denial of
 rehearing en banc) (“And parts of the ballot are government speech—like instructions on how to
 vote.”); see also O.R.C. § 3505.12. Defendant argues that a petition, like a ballot, is an official election
 document and the certified summary contained therein is government speech.
         The Court finds defendant’s argument to be unconvincing in light of the factors which
 distinguish government speech from private speech: the degree of government control, the history
 of the type of expression, and public perception of who is speaking. Shurtleff v. City of Boston, 596
 U.S. 243, 252 (2022). The state maintains tight control over ballots, but far less so with petitions.
 Ballots are prepared, printed, and distributed by the state. See O.R.C. Chapter 3505. Petitions,
 though regulated in form, see O.R.C. § 3519.05, are produced and circulated by citizens, and the
 summary itself is originally written by proponents of an amendment. Historically, ballots “serve
 primarily to elect candidates, not as forums for political expression.” Timmons, 520 U.S. at 363. A
 ballot is “not a bumper sticker,” Rubin v. City of Santa Monica, 308 F.3d 1008, 1016 (9th Cir. 2002),
 nor a “billboard for political advertising,” Timmons, 520 U.S. at 365. Petitions have historically
 served at least two purposes. One is to demonstrate, by the gathering of a certain number of
 signatures, that a measure has a sufficient basis of support to warrant placement on the ballot. As
 importantly, petitioning gives proponents a natural opportunity to engage and persuade the public
 and thereby generate the needed basis of support. See Meyer, 486 U.S. at 421–22. Finally, citizens
 expect a certain sanctity to the polling place, free from intrusion by private speech. See Burson v.
 Freeman, 504 U.S. 191, 211 (1992) (“A long history, a substantial consensus, and simple common
 sense show that some restricted zone around polling places is necessary to protect that fundamental
 right.”). But the petition circulator and the common citizen at a town square or public market carry
 no such expectation. A public forum by tradition allows for “uninhibited, robust, and wide-open
 debate on public issues.” Frisby v. Schultz, 487 U.S. 474, 479 (1988) (internal quotation marks
 omitted). Accordingly, for purposes of evaluating plaintiffs’ likelihood of success on the merits, the
 Court finds that the certified summary is not government speech.



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         In sum, the Court concludes that Ohio’s subjection of plaintiffs’ summaries to fair-and-
 truthful review by the Attorney General imposes a severe burden on their First Amendment rights.
         C.      Strict Scrutiny
         When a state severely burdens a core political right, it faces a “‘well-nigh insurmountable’
 obstacle to justify it.” Citizens for Tax Reform v. Deters, 518 F.3d 375, 387 (6th Cir. 2008) (quoting
 Meyer, 486 U.S. at 425). The court applies strict scrutiny, and the state must show that the regulation
 is “justified by a compelling state interest” and “narrowly tailored in pursuit of that interest.”
 Kennedy v. Bremerton Sch. Dist., 597 U.S. 507, 525 (2022).
         Defendant asserts an interest in maintaining the integrity of the initiative process by
 deterring fraud and confusion. The state’s interest goes to the reliability of petitions circulated to the
 public – that individuals who might sign a petition would have the ability to know exactly what they
 are being asked to support and to discern if the petition is genuine and would have legal effect once
 signed. The state’s interest in protecting the public from election-related fraud and confusion is one
 the Sixth Circuit has generally recognized as compelling. See Susan B. Anthony List v. Driehaus, 814
 F.3d 466, 473–74 (6th Cir. 2016) (citing cases).
         The inquiry now turns to whether the fair-and-truthful certification requirement is narrowly
 tailored to advance the state’s interest. Defendant must demonstrate it used “the least restrictive
 means” to achieve its compelling interest. OPAWL - Bldg. AAPI Feminist Leadership v. Yost, 118
 F.4th 770, 784 (6th Cir. 2024). The regulation must be “necessary . . . to meet [the state’s]
 concerns.” Meyer, 486 U.S. at 426.
         The Court finds that defendant has not met this burden for purposes of the motion for
 preliminary injunctive relief. A summary certified as fair and truthful is not necessary to ensure that
 potential signers can determine the nature of what they are being asked to support. The petition
 itself must contain the full text of the proposed amendment. See O.R.C. § 3519.05(A). Potential
 signers thus already have a way to determine what the amendment would accomplish. And they can
 engage in discourse with the circulator who is asking them to sign. The amendment’s full text may
 not be as easy to digest as a summary and the circulator might make misleading statements to win
 support, but our democracy relies on its citizens to determine for themselves how much research
 they will conduct on election-related matters and which campaign speech to believe and which to




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 discredit. We rely on the electorate to be able to sift through political speech and decide what is fair,
 what is truthful, and what change is desirable. 7
         As applied, the Attorney General’s denials of plaintiffs’ summaries reached a level of hyper-
 correctness which went beyond ensuring that citizens could ascertain what they were being asked to
 support. For instance, the Attorney General rejected plaintiffs’ November 2023 summary in part
 because it did not explain that the amendment would apply to immunities or defenses available to
 government actors or “any subset thereof.” Doc. 58-6 at PAGEID 652. In their March 2024
 version, plaintiffs included the “any subset thereof” language, but the Attorney General still rejected
 it because he thought the placement of a comma made the added language confusing. Doc. 58-7 at
 PAGEID 661. He also rejected the March 2024 summary because it contained language that
 “repeats itself” regarding the statute of limitations. Id. In practice the Attorney General has not
 used the least restrictive means of examining plaintiffs’ summaries. The Attorney General, one
 might say, has played the role of an antagonistic copyeditor, striking plaintiffs’ work on technical
 grounds. See Brown, 122 F.4th at 619 (Moore, J., dissenting) (describing the Attorney General’s
 reasons for denying certification as “petty and self-contradictory”).
         Finally, a summary certified as fair and truthful is not necessary to ensure that potential
 signers can discern if a petition is genuine. The Court will assume for argument’s sake that a state
 certification of some sort helps signers identify a real petition. But the certification need not say the
 summary is a fair and truthful statement in order to achieve the purpose. The Attorney General
 could just as well certify that the committee had submitted the initial petition with 1,000 valid
 signatures and the full text of the proposed amendment. A certification that proponents had



 7 Two additional considerations, while not determinative, undercut defendant’s position. An Ohio
 Supreme Court justice once expressed his belief that the summary obfuscates instead of educates:
 “[T]he public [should] be allowed to rely on the wording of the actual constitutional amendment,
 instead of a mere summary thereof. Such a summary restricts and circumvents, rather than
 facilitates, the people’s important right to know what they are actually petitioning for.” State ex rel.
 Tulley v. Brown, 29 Ohio St. 2d 235, 240, 281 N.E.2d 187, 191 (Ohio 1972) (Brown, J., dissenting). In
 Tulley the Ohio Supreme Court declined to consider the constitutionality of “the overall concept of
 the Attorney General’s statutory power of preliminary examination concerning proposed
 constitutional amendments under R.C. Chapter 3519.” Id., 29 Ohio St. 2d at 236–37, 281 N.E.2d at
 189 (per curiam).

 Additionally, defendant himself has put forth opinion evidence that “[o]nly rarely will [a person]
 wish to read the summary for informational purposes.” Lynaugh Decl., ¶ 17. If true, then
 summaries would appear to be an ineffective means of accomplishing the state’s purpose.
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 satisfied a basic procedural requirement would be equally effective in giving potential signers
 confidence in the genuineness of the petition being presented to them.
         The Court concludes that the fair-and-truthful certification requirement is not narrowly
 tailored to achieve a compelling state interest.        Thus, plaintiffs have carried their burden of
 demonstrating a likelihood of success on the merits under the Anderson-Burdick framework.
         D.      Sovereign Immunity
         Defendant contends that plaintiffs are unlikely to succeed on their claim regarding the
 rejected March 5, 2024 summary because it does not fall within the Ex parte Young exception to
 Eleventh Amendment immunity. See S & M Brands, Inc. v. Cooper, 527 F.3d 500, 507 (6th Cir. 2008)
 (citing Ex parte Young, 209 U.S. 123 (1908)). The Ex parte Young exception permits a federal court to
 “issue prospective injunctive and declaratory relief compelling a state official to comply with federal
 law,” but it does not “extend to any retroactive relief.” Id. at 507–08. Defendant argues that any
 relief granted here would be backward-facing because it would entail reversing the Attorney
 General’s March 14, 2024 decision that the summary was not fair and truthful.
         The Court disagrees. Plaintiffs have not asked the Court to reverse or set aside the Attorney
 General’s past decision. Rather, they seek relief to address an ongoing constitutional injury – that of
 their inability, due to the Attorney General’s actions, to circulate to the public their petition with the
 summary containing their desired language. Injunctive relief would be forward-looking, requiring
 the Attorney General to advance plaintiffs’ petition to the Ballot Board.

 V.      Remaining Preliminary Injunction Factors
         When plaintiff establishes a likelihood of success on the merits in a First Amendment case,
 the other preliminary injunction factors “follow in favor of granting the injunction.” ACLU of Ky. v.
 McCreary County, 354 F.3d 438, 462 (6th Cir. 2003); see also Obama for Am. v. Husted, 697 F.3d 423, 436
 (6th Cir. 2012) (“When constitutional rights are threatened or impaired, irreparable injury is
 presumed.”); Bays, 668 F.3d at 819 (stating that in First Amendment cases, “the crucial inquiry is
 usually whether the plaintiff has demonstrated a likelihood of success on the merits” because “the
 issues of the public interest and harm to the respective parties largely depend on the constitutionality
 of the state action”) (internal quotation marks and alterations omitted).
         Defendant nonetheless argues that plaintiffs will not suffer irreparable injury absent
 injunctive relief. He cites evidence developed in discovery, see supra Part II.E, tending to show that
 plaintiffs lack the time, resources, and manpower to collect the 413,487 signatures needed to put


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 their amendments on the November 2025 ballot. Not granting an injunction would cause no real
 harm because plaintiffs lack a realistic hope of making the November 2025 ballot anyhow. See Doc.
 59 at PAGEID 705 (arguing that “it is Plaintiffs’ conduct, not the Attorney General’s review, that
 will cause them to miss this year’s election”).
         The Court rejects this argument because it overlooks the injury to plaintiffs’ access to the
 initiative process.   Plaintiffs ultimately might not gather enough signatures, but they have a
 protectible First Amendment interest in having the opportunity to try. See Meyer, 486 U.S. at 421–23;
 Schmitt, 933 F.3d at 641 (examining the burden imposed by Ohio’s initiative regulations on plaintiffs’
 access to the ballot). Though defendant tries to minimize the practical impact of denying injunctive
 relief, “even minimal infringement upon First Amendment values constitutes irreparable injury
 sufficient to justify injunctive relief.” Newsom v. Norris, 888 F.2d 371, 378 (6th Cir. 1989).

 VI.     Conclusion
         Accordingly, plaintiffs’ motion for preliminary injunctive relief (doc. 40) is GRANTED.
 The Court enjoins the Ohio Attorney General from enforcing the requirement of a fair-and-truthful
 examination under O.R.C. § 3519.01(A) before certifying plaintiffs’ March 5, 2024 summary of the
 Protecting Ohioans’ Constitutional Rights amendment and plaintiffs’ summary of the Ohio
 Wrongful Conviction and Justice Reform Amendment, see Doc. 47 at PAGEID 549. The Attorney
 General is further ordered to immediately certify plaintiffs’ March 5, 2024 petition to the Ohio
 Ballot Board.
         As part of the Court’s equitable authority to mold injunctive relief to meet “changed
 conditions,” United States v. Swift & Co., 286 U.S. 106, 114 (1932), the Court allows plaintiffs to
 update the March 5, 2024 summary to reflect the correct section number that an amendment would
 add to Article I of the Ohio Constitution (section 23 instead of section 22) and to remove reference
 to a now-past effective date of January 1, 2025.
         The Court waives the posting of security under Rule 65(c), Fed. R. Civ. P., because the grant
 of relief does not pose a risk of economic harm to defendant. See Moltan Co. v. Eagle-Picher Indus.,
 Inc., 55 F.3d 1171, 1176 (6th Cir. 1995) (district courts have discretion to waive security).


                                                                  s/ James L. Graham
                                                                  JAMES L. GRAHAM
                                                                  United States District Judge
 DATE: March 14, 2025


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